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 5
   Attorneys for Plaintiff
 6 KAHEAL PARRISH

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 8                                  UNITED STATES DISTRICT COURT
 9                              NORTHERN DISTRICT OF CALIFORNIA
10                                           SAN JOSE DIVISION
11 KAHEAL PARRISH,                                      CASE NO.: 5:11-cv-01438-LHK
12                                   Plaintiff,         PLAINTIFF’S OPPOSITION TO
                                                        DEFENDANTS’ MOTION IN LIMINE
13                   v.                                 NO. 4
14 A. SOLIS, et al.,                                    Date:      November 20, 2014
                                                        Time:      1:30 p.m.
15                                   Defendants.        Courtroom: 8
                                                        Judge:     The Honorable Lucy H. Koh
16
                                                        Trial Date: December 5, 2014
17                                                      Action Filed: March 11, 2011
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     PL.’S OPP’N TO DEF.’S MOT. IN LIMINE NO. 4                      CASE NO.: 5:11-CV-01438-LHK
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 1           Defendants’ Motion in Limine No. 4 seeks to exclude all evidence, references to evidence,
 2 testimony or referring to any Defendant or Salinas Valley employee as “assault defendants” or

 3 “non-party co-conspirators.” Plaintiff does not intend to use such titles to describe Defendants or

 4 non-parties during trial. But, Plaintiff believes that consistent labels for various groups of

 5 Defendants and non-parties will help prevent jury confusion. Plaintiff will confer with Defendants

 6 prior to the pre-trial hearing to see if the parties can agree upon labels that can be used to describe

 7 such groups of people.

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10    Dated: November 10, 2014
11
                                                            By:    /s/ William J. Casey
12                                                                     William Casey
                                                                   Attorneys for Plaintiff
13                                                                  KAHEAL PARRISH
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     PL.’S OPP’N TO DEF.’S MOT. IN LIMINE NOS. 4                             CASE NO.: 5:11-CV-01438-LHK
          Case 5:11-cv-01438-LHK Document 265 Filed 11/10/14 Page 3 of 3



 1                                    CERTIFICATE OF SERVICE
 2        I am employed in the county of Santa Clara, State of California. I am over the age of 18
   and not a party to the within action; my business address is 525 University Avenue, Suite 1400,
 3 Palo Alto, CA 94301.

 4          On November 10, 2014 I served the foregoing document described as:
 5          PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION IN LIMINE NO. 4
 6 on the interested parties in this action as follows:

 7        D. Robert Duncan II, Esq.
          Sharon Garske
 8        Deputy Attorney General
          455 Golden Gate Avenue, Suite 11000
 9        San Francisco, CA 94102-7004

10
    X (BY EMAIL) I am readily familiar with the firm’s practice of email transmission; on this date,
11 caused the above-referenced document(s) to be transmitted by email as noted above and that the
   I
   transmission was reported as complete and without error.
12
       (BY MAIL) I am readily familiar with the firm’s practice for the collection and processing of
13 correspondence   for mailing with the United States Postal Service and the fact that the
   correspondence would be deposited with the United States Postal Service that same day in the
14 ordinary course of business; on this date, the above-referenced correspondence was placed for
   deposit at Palo Alto, California and placed for collection and mailing following ordinary business
15 practices.

16     (BY FEDERAL EXPRESS) I am readily familiar with the firm’s practice for the daily
   collection and processing of correspondence for deliveries with the Federal Express delivery
17 service and the fact that the correspondence would be deposited with Federal Express that same
   day in the ordinary course of business; on this date, the above-referenced document was placed for
18 deposit at Palo Alto, California and placed for collection and delivery following ordinary business
   practices.
19
           I declare that I am employed in the office of a member of the bar of this Court at whose
20 direction  the service was made.

21          Executed November 10, 2014 at Palo Alto, California.

22
                                                                   /s/ Wayne Campbell
23                                                                   Wayne Campbell
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     CERTIFICATE OF SERVICE                                              CASE NO.: 5:11-CV-01438-LHK
